



                                                                    



IN THE COURT OF APPEALS, THIRD DISTRICT OF TEXAS,



AT AUSTIN




                       




NO. 3-92-485-CR




MICHAEL RAY VIRES,



	APPELLANT


vs.




THE STATE OF TEXAS,



	APPELLEE


                       



FROM THE DISTRICT COURT OF WILLIAMSON COUNTY, 26TH JUDICIAL DISTRICT


NO. 92-206-K26, HONORABLE WILLIAM S. LOTT, JUDGE PRESIDING


                       




PER CURIAM


	This is an appeal from a judgment of conviction for indecency with a child. 
Punishment was assessed at confinement for ten (10) years.

	Appellant has filed a motion to withdraw the appeal.  No decision of this Court has
been delivered.  The motion is granted and the appeal is dismissed.  See Tex. R. App. P. 59(b).



Before Justices Jones, B. A. Smith and Onion*

Dismissed on Appellant's Motion

Filed:  November 24, 1993

Do Not Publish


*	Before John F. Onion, Jr., Presiding Judge (retired), Court of Criminal Appeals, sitting by
assignment.  See Tex. Gov't Code Ann. § 74.003(b) (West 1988).


